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              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE SIXTH CIRCUIT

AMERICAN ELECTRIC POWER                     )
SERVICE CORPORATION,                        )
                                            )
      Petitioner,                           )
                                            )
      v.                                    )
                                            )      Case No. 23-3196
FEDERAL ENERGY                              )
REGULATORY COMMISSION,                      )
                                            )
      Respondent.                           )


  MOTION OF THE PUBLIC UTILITIES COMMISSION OF OHIO FOR
           LEAVE TO INTERVENE AS RESPONDENT



      Pursuant to Federal Rule of Appellate Procedure 15(d), the Public Utilities

Commission of Ohio (PUCO) timely moves for leave to intervene as a party

respondent in the above-captioned proceeding. In this proceeding, Petitioner seeks

review of the following orders issued by Respondent, the Federal Energy Regulatory

Commission (FERC), entered in FERC Docket No. EL22-34:

                    1.   Office of the Ohio Consumers’ Counsel v. American

                         Electric Power Service Corporation, et al., Order on

                         Complaint, 181 FERC ¶ 61,214 (December 15, 2022).

                    2.   Office of the Ohio Consumers’ Counsel v. American

                         Electric Power Service Corporation, et al., Notice of

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                           Denial of Rehearing by Operation of Law and Providing

                           for Further Consideration, 182 FERC ¶ 62,095 (February

                           17, 2023).

These orders were entered in a proceeding initiated by the Office of the Ohio Con-

sumers’ Counsel under Sections 206 and 306 of the Federal Power Act, 16 U.S.C. §

824d, §825e. As noted by Petitioner, this Petition is related to Dayton Power & Light

Co., et al. v. Federal Energy Regulatory Commission, Case Nos. 21-4072 and 22-

3351 (consol.), before this Court. PUCO’s Office of the Federal Energy Advocate

has moved to intervene in Case Nos. 21-4072 and 22-3351. In support of this motion,

PUCO states that it was an intervenor in FERC Docket No. EL22-34. PUCO is a

state agency with regulatory authority over public utilities, including electric distri-

bution utilities.

       The incentives at issue in this case directly impact the transmission rates of

Ohio retail electric service consumers. The Court’s decision in this proceeding will

likewise have a direct impact on Ohio retail electric service consumers and trans-

mission service in the state. Accordingly, PUCO has a direct and substantial interest

in the outcome of this proceeding.

       For the foregoing reasons, the PUCO respectfully requests leave to intervene.




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Dated: April 6, 2023                    Respectfully submitted,

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                                        Section Chief


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                      CERTIFICATE OF COMPLIANCE


      Pursuant to Fed R. App. P. 32 (f) and (g), I hereby certify that the foregoing

motion complies with the limitation of Fed. R. App. P. 27(d)(2)(A) because it

contains 514 words, excluding exempted portions, according to the count of

Microsoft Word.

      I further certify that the motion complies with Fed. R. App. P. 27(d)(1)(E),

32(a)(5) and (6) because it has been prepared in 14-point font.




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                          CERTIFICATE OF SERVICE

      Pursuant to Fed. R. App. P. 25(d) and Circuit Rule 25(f), I hereby certify that

on April 6, 2023, I caused the foregoing motion to be electrically filed with the Clerk

of the Court by using the Court’s CM/ECF system. All registered counsel will be

served by the Court’s CM/ECF system.




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